                      Case 1:21-mj-00453-GMH Document 1 Filed 05/28/21 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint



                                        UNITED STATES DISTRICT COURT
                                                                  for the
                                                            District of &ROXPELD

                  United States of America                           )
                                v.                                   )
                                                                     )      Case No.
                                                                     )
                                                                     )
                  STEPHANIE M. BAEZ                                  )
                    DOB: XXXXXX                                      )
                           Defendant


                                                  CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                     January 6, 2021              in the county of                              in the
                         LQWKH'LVWULFWRI       &ROXPELD , the defendant(s) violated:

             Code Section                                                     Offense Description
        18 U.S.C. § 1752(a)(1), (2)—Knowingly Entering or Remaining in any Restricted Building or Grounds
                                     Without Lawful Authority
        40 U.S.C. § 5104(e)(2)(D), (G)—Violent Entry and Disorderly Conduct on Capitol Grounds




         This criminal complaint is based on these facts:
  6HHDWWDFKHGVWDWHPHQWRIIDFWV




         9
         u   Continued on the attached sheet.


                                                                                               Complainant’s signature

                                                                                         Jessica Salo, Special Agent
                                                                                               Printed name and title
$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3
E\WHOHSKRQH                                                                             Digitally signed
                                                                                                     by G. Michael
Date:             May 28, 2021                                                                       Harvey
                                                                                                 Judge’s signature

City and state:                         :DVKLQJWRQ'&                       G. Michael Harvey, U.S. Magistrate Judge
                                                                                               Printed name and title
